        Case 2:19-mj-00982-DUTY Document 1 Filed 03/12/19 Page 1 of 1 Page ID #:1


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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUM
 ~ ) ~~~~      SI~A~^'~
                           ~F/~I~~-~~~ '~
 Vn                                      G
                                               PLAINTIFFS)
                                                                      ~9      1    ~O      ~a~   ~^
                             V.




                                             DEFErr~,~vT~s~.                  OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by: ~n:~'~(~ S~a~-~s v ~ ~ry~~~ ~G~
in the                               District of M~sS~ ck dseN-s                 on 3/x/2 a r                              ~
at               ❑ a.m. / ❑ p.m. The offense was allegedly committed on or about
in violation of Title         ~g                    U.S.C., Sections) ~q 6 2l~ 1
to wit: Cot~/~~l~t ~ {—~ c•r~•..,:,1— ~al.rl~e.~~ .~.q►

A warrant for defendant's arrest was issued by:

Bond of $                               was ❑set /~ recommended.

Type of Bond:

Relevant documents)on hand (attach):



I swear that the foregoing is true and correct to the best
                                                           of~ ui D/~

Sworn to before me, and subscribe,,~l in my presenc                                        2/lGI                               by

                                                                 ~''              Clerk.
                                                                         ~.
                                                               ~~..d c~,~°
                                                               1202
                                                                         ~-nd~~ ~~dsf~
Signature of Agent                                                 Print Name of Agent


   -~~                                                                 S ~E'~~
Agency                                                              Title


CR-52(05/98)                           AFFIDAVIT RE OUT-OF-DISTRICT WARRANT
